                               THE UNITED STATES DISTRICT COURT
                              FOR THE SOUTHERN DISTRICT OF OHIO
                                       WESTERN DIVISION

    TITAN WRECKING &                                         ) Case No. 1:15-cv-00577
    ENVIRONMENTAL,LLC,                                       )
                                                             ) Judge Susan J. Dlott
             Plaintffi                                       )
                                                             )
    VS
                                                             )
                                                             )
    VESTIGE REDEVELOPMENT                                    )
    GROUP LLC, et al.,                                       ) PLAINTIFF'S BRIEF              IN
                                                             ) OPPOSITION TO DEFENDANTS'
              Defendants                                     ) MOTION TO DISMISS


             Plaintiff Titan Wrecking & Environmental, LLC ("Titan") hereby opposes Defendants

 Matthew R. Lafkas ("Lafkas"), vestige Redevelopment Group LLC ("vestige") and its

members, skinner Family II, LLC ("Skinner Family"), MRL Capital Holdings, LLC (..MRL

 capital"), and Two Thirds, LLC's ("Two Thirds") (collectively, "Defendants") Motion to

Dismiss or Stay (the "Motion"). Because Defendants' Motion is wholly unsupported by law and

based upon a misrepresentation of the facts,          it should be denied. Contrary to Defendants' claim,

Colorado River abstention is neither necessary nor appropriate in this case.

             Defendants' position that Hamilton County Court of Common Pleas Case No. 1400996

(the "State Court Action") is the appropriate venue for this action is incorrect and disingenuous.

In fact, Titan previously moved the State Court for leave to assert its fraudulent transfer and

declaratory judgment claims (the same claims before this Court) in that case. Vestige opposed

Titan's efforts as untimely and prejudicial. In response, the State Court denied Titan's motion

for leave to amend, concluding the request was untimelyl and the new claims "fundamentally


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  Titan asserts that its motion for leave was timely. Titan obtained the initial information substantiating its
fraudulent transfer claim in the litigation discovery. Vestige roadblocked Titan's efforts to obtain ñutñer
information, leaving Titan to analyze the merits of its claims with nominal information. In light of this, six months


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  chang[ed] the nature" of the State Court Action. Defendants' failure to acknowledge this fact to

  the Court renders their Motion suspect and their accusations of "forum shopping" nothing short

  ofpreposterous.

             Defendants' current position that the State Court is the proper venue can only be

  chatacteÅzed as a remarkable change of heart or a thinly-veiled attempt to deprive Titan of any

 forum in which to litigate its fraudulent transfer claim. Defendants, however, are not entitled to

 use the State Court Action as both a sword and a shield. Thus, in light of (1) Vestige's own

 conduct in the State Court Action, (2) the State Court's express determination that Titan's

 amended claims would "fundamentally change" the State Court Action, and (3) Defendants'

 failure to satisfy the elements of the Colorado River Abstention Doctrine, Defendants' Motion

 should be denied.

 I.          RELEVANT FACTS AND PROCEDURAL HISTORY

             In February 2014, Titan filed a lawsuit against Vestige for breach of contract, unjust

 enrichment and to foreclose its mechanic's lien against the Kahn's/ Sara Lee Building

Demolition Project located at324l Spring Grove Avenue, Cincinnati, Ohio (the "Property") (the

"Project) in the State Court Action. See Compl aint, altached as Exhibit I to Declaration               of
Steven Coffaro [Doc. No. 8] (the "Coffaro            Dec."). Vestige owns the Project. Id.,     see also

Vestige's Answer and Counterclaim, attached as Coffaro Dec. Exhibit2. Titanwas a prime

contractor on the Project.         Id.   To date, Vestige owes Titan an outstanding balance in excess         of
$885,584.55 for Titan's Project work. See Complaint. Vestige is a limited liability company

with a single     asset   -   the real property where the Project was performed that is the subject      of




is not an unreasonable amount of time to expend before moving to amend a complaint, especially given the limited
discovery taken in the State Court Action.


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    Titan's lien. The value of the property and the sufficiency of any proceeds in a sheriff s sale to

    pay Titan's damages are unknown and uncertain.

             Information obtained from discovery conducted during the State Court Action reveals

 that Vestige financed the Project, inpart, through a $480,000 loan on the Project property with

    Commerce Bank. See Vestige 30(8)(5) Deposition Transcript (the "Vestige Depo.") atp.2l-22,

 attached as Coffaro Doc. Exhibit 4.2 Vestige also financed the Project with grants from the State

 of ohio's Department of Development and the city of cincinnati. Id. atp.37.

             The Project work included the demolition and salvaging of the Project scrap. In late fall

 20ll learly winter 2012, Vestige received            signihcant revenue for Project scrap from Cohen

 Brothers, Inc. ("Cohen"). Id. at 42,56, 198. Titan furnished the labor, materials and equipment

to demolish, segregate and stockpile materials that were to be salvaged and sold as scrap by

Vestige. Id. at 42. Titan was aware of the volume and value of these materials based on its past

experience in performing demolition services and salvaging similar materials for sale. Based on

its knowledge of the value of these materials, Titan estimated the scrap revenue to be equal to or

in excess of at least $1 million to $2 million.

             Titan reasonably expected that these revenues would be used to pay for any additional

costs incurred to perform the Project work, including the import of replacement backfill at the

agreed unit price set forth in the Contract. In proceeding with the work set forth in Change

Order #2, and the import of replacement backfill as authorizedby Vestige, Titan reasonably

relied upon its knowledge of the value of the scrap materials and reasonably expected that such

funds would be used to pay for the additional costs due and owing to Titan for the import                     of
replacement backfill at the agreed unit price.


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    The complete transcript of the Vestige Deposition is being filed simultaneously with this Opposition in accordance
with Judge Dlott's Standing Order on Civil Procedures.


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             Vestige testified that it used a portion of the Cohen sc.ap3 proceeds to satisfy the

    Commerce Bank loan in January 2012. Id. at30,33,42. Vestige also testified that in September

    2012, profit distributions were made to its members from the Cohen scrap proceeds. Id. at202-

    203. Thus, Vestige generated significant revenue from the salvage of Project scrap materials that

    were part of Titan's work and then used those funds to (i) prematurely satisff the Commerce

 Bank mortgage; (ii) issue capital retums to its members; (iii) distribute profits to its members;

 (iv) reduce the amount of Project grant firnds from which Vestige paid, or could pay, Titan;

    andlor (v) otherwise put the monies outside of the reach of Titan.

             Information obtained during discovery in the State Court proceeding confirms Vestige is

 25o/o ov¡ned     by Skinner Family; 25Yo owned by MRL Capital; and 50Yo owned by Two Thirds,

LLC (50%). Id. at 12-13. Lafkas, his parents, and his siblings             are the members       of Skinner

Family. Id. Lafkas is the sole member of MRL Capital and the general partner and manager of

Vestige. Id. Lafkas was the primary individual involved in Project development and funding on

behalf of Vestige, was the only individual with day-to-day involvement in the Project.                     Id. The
Project involvement of the remaining Vestige partners does not go beyond updates prepared or

provided by Lafkas. Id. at2l,l97-203.

             Thus, since f,rling the complaint in the State Court Action, Titan discovered information

not previously known which support a fraudulent transfer claim against Lafkas, Vestige and its

members (Skinner Family, MRL Capital and Two Thirds), and veil piercing                    /   alter ego   liability

against Lafkas. Accordingly, on June 4, 2015, Titan moved for leave to file its First Amended


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 Vestige refused, at deposition and in response to written discovery requests, to disclose the amount of revenue it
received from Cohen for the Project scrap. See, e.g., Vestige Depo. at 30, 198-199. On 12/4/14, Vestige also moved
for a protective order relative to Titan's subpoena to Cohen for this information, which Titan opposed. See State
Court docket, altached as Exhibit A to the Declaration of Melissa A. Jones, which is being filed simultaneously
herewith (the "Jones Dec."). The Magistrate's Decision granting Vestige's motion for protective order is currently
before Judge Myers upon Titan's objection. See Jones Dec. Ex. A, State Court's 4129/15 Entry Holding Motion In
Abeyance.


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 Complaint to include the fraudulent transfer claim against Defendants (the "Motion for Leave to

 Amend"). See Coffaro Dec. Exhibit 4.

             Notably, Defendants completely fail to mention that Vestige opposed Titan's Motion for

 Leave to Amend in the State Court Action. Neither Defendants' Motion, nor the Coffaro

 Declaration, make mention of Vestige's opposition, nor does the Coffaro Declaration attach a

 copy of Vestige's opposition brief. A copy of Vestige's opposition to Titan's Motion for Leave

 to Amend is attached as Exhibit B to the Jones Dec.

             In its opposition, Vestige objected to Titan's motion as untimely and prejudicial, without

 offering any admissible evidence justifying its position. Vestige also attacked the substantive

 merits of Titan's claim, thereby attempting to convert its opposition to Titan's Motion for Leave

 into    a premature   motion to dismiss the proposed amended complaint. The State Court

 summarily denied Titan's Motion for Leave to Amend on two grounds: 1. the motion was

allegedly untimely; and2. in the eyes of the Magistrate, the claims to be added were so different

that adding them would "fundamentally change the nature" of the State Court Action. See

Coffaro Dec. Exhibits 5-6. The Magistrate did not address the substantive merits of Titan's

amended claims.

             On September 8, 2015, Titan filed the instant lawsuit seeking damages and remedies for

Defendants' fraudulent transfers pursuant to ORC $1336.01 et seq., and adeclaratory judgment

regarding Titan's rights thereto. [Doc. No. 1]. Unbelievably, Defendants now attempt to dismiss

or stay this action by advocating that the State Court is the proper venue for Titan's fraudulent

transfer claim. Given Vestige's directly contrary position to the State Court just a few months

ago, Defendants' Motion is duplicitous. FurtheÍnore, Defendants' reliance upon the Colorado

River Abstention Doctrine is misplaced.




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  il.           LAWANDARGUMENT

                 Pursuant to settled law, abstention is an extraordinary doctrine, justified in only the

 narrowest of circumstances, none of which are present in this case. "Abstention from the

 exercise of federal jurisdiction is the exception, not the       rule." Colorado River Water
 ConservationDistrictv. UnÌtedStates,424U.S.800,8l3,96 S. Ct. 1236(1976). Under

 Colorado River, a federal court may, in"exceptional circumstances," abstain from exercising

 jurisdiction when there are concurrent state and federal proceedings. 1d (emphasis

 added.) When applying the doctrine, the court's task "is not to find some substantial reason for

 the exercise of federal jurisdiction . . .; rather, the task is to ascertain whether there exist

 exceptional circumstances . . . to justifu the surrender of [federal court] jurisdiction ." Moses H.

 cone Memorial Hosp. v. Mercury constr. corp.,460               u.s. 1,25-26,103 s. ct.927
 (1983)(internal quotation marks omitted). "[A] district court's discretion to abstain must be

 exercised within the narrow and specific limits prescribed by the particular abstention doctrine

 involved." Village of Westfield v. Welch's,I70 F.3d I 16,125 (2d Cir.1999)(internal citations

omitted). The Supreme Court itself has stated that federal courts have a "virtually unflagging

obligation" to exercise their jurisdiction. colorado River,424u.S.800 at 817.

                A. Colorado River Abstention Is N             Annlicable Nor W               Here.

                   1.   Vestige's Own Actions in the State Court Action Defeat The Motion.

                The purpose of the Colorado River doctrine is to remove a case to a more convenient

forum in which the claim is already pending. Healthcare Capital, LLC v. Healthmed,               Inc.,2l3
F. Supp. 2d 850 (S.D. Ohio 2002), citing Colorado River,424U.S.800, 818-819. Here, there is

no other "more convenient forum." Titan's fraudulent transfer claim is not "alteady pending" in

another forum. The State Court declined to accept jurisdiction over Titan's fraudulent transfer




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    claim. The State Court Magistrate expressly determined that Titan's fraudulent transfer claim

    would "fundamentally" change the nature of the state court Action.

             Vestige vehemently opposed Titan's efforts to amend its complaint to include the claim.

    Accordingly, Defendants should be estopped from now claiming the State Court is the more

    appropriate venue. See Wimmer v. Gateway Funding Diversffied Mortg. Servs., L.P.,20I5IJ.S.

    Dist. LEXIS 124277 (S.D. Ohio, J. Dlott)a (motion to dismiss denied, because the state court

    stayed the case under defendant's advisement that              it intended to remove the   case to federal court

    for consolidation, and "[defendant] cannot sway the trial court to stay the case pending the

    federal court case, then move to dismiss the federal court case."). See ølso Tucker v. Casual Male

 Retail Group, 1nc.,2004 U.S. Dist. LEXIS 17822 (N.D. Cal. Aug. 30,2004) (declining to abstain

 under Colorado River where plaintiff filed federal suit after state court denied motion to amend

 complaint to add a different, albeit related, cause of action based on same operative facts because

 (1) the federal action did not evince any special concerns regarding piecemeal litigation; (2) the

 federal action involved ordinary employment, contract, and labor law issues; (3) there was no

vastly more comprehensive state action pending; (4) the state court proceeding had not

progressed significantly; and (4) the record did not indicate that the employee frled the federal

action in bad faith in an attempt to forum shop).

             Here, Vestige's own conduct in opposing Titan's motion to amend the state court

complaint, which effectuated the Magistrate's order denying Titan's motion for leave, renders

Titan without a forum for its fraudulent transfer claim other than this Court. "An important

consideration under a Colorado River analysis is whether, in the case of stay or dismissal, the

state court proceedings         will be an adequate forum for Plaintifß' claims. Stay or abstention is

inappropriate where 'substantial room for doubt' exists as to whether the state court can provide

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    All unreported   cases are attached hereto at Exhibit A.



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  relief." oglesby v. County of Kern,2005 U.S. Dist. LEXIS 29363 (E.D. Cal. Nov. 4, 2005)

  (quoting Moses H. Cone, 460 U.S. 1,26-27). As Vestige's own actions barred Titan's fraudulent

 transfer claim in the State Court Action, Defendants' Motion should be denied.

                  2.     This Lawsuit and the State Court Action Are Not parallel.

             When determining a Colorado River stay, the court must (1) first establish whether the

 state and federal court suits are parallel, and then          (2) analyze   a number   of factors outlined in

 Colorado River and its progeny. Madoffe v. Safetite Solutions, LLC,2007 U.S. Dist. LEXIS

 9584 (S.D. Ohio 2007).          "If the actions   are not parallel, then the Court's analysis must end, as the

 district court would have nothing in favor of which to abstain." Healthcare Capital, 213 F. Supp.

 2d at 857 (internal citations omitted).

             "For an action to be parallel, there must be identity of the parties and issues in the federal

 and state court actions." Healthcare Capital,2l3 F. Supp. 2d at 858. V/hile the Sixth Circuit

 recognizes that two actions may be parallel even             if   one action includes an additional claim,

 "essential to the determination of whether the two actions are parallel is whether resolution of the

 state court action       will provide complete relief for the federal action." Heitmanis        v.   Austin,899 F.

2d 521,528        (6th   Cir. 1990) (finding that the district court should not have abstained when

additional issues not addressed by the state litigation were raised in the federal complaint); see

also Madoffe,2007 U.S. Dist. LEXIS 9584 at*7.

             The Madoffe opinion is instructive. In Madoffe,the state and federal court lawsuits

involved the same parties, and each claim arose out of the same occurrence: plaintiffls

employment and separation from defendant. Both complaints contained sex discrimination

allegations, with plaintiff s federal complaint including two additional claims for defendant's

alleged FMLA violations. The Southern District of Ohio denied defendants' motion to dismiss,




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  finding the two claims not parallel because (1) additional determinations needed to be made in

 the federal court action, and (2) the state court could not dispose of plaintiff s claims in the

  federal case because plaintiff could not vindicate her FMLA rights in the state court.

             In this case, Titan's federal and state court complaint do not include identical claims, only

 one party is the same (Vestige). Additionally, the State Court Magistrate already ruled that the

 claims and parties are so distinct that Titan's fraudulent transfer claim would fundamentally

 change the State Court      Action.   See also Heitmanis v.   Austin,899 F.2d 521 (because plaintiff   s

 federal court case included three additional claims premised upon state election statutes, it was

 not parallel to the state court action, because while both cases arose from the same set of laws

 and circumstances, the three additional state statutes raised in the federal court complaint were

 "far more intrusive in terms of [Republican] party governance"); and The Union Central Life

Insurance Co. v. Andraos Capital Mgmt. & Ins. Svs., lnc.,2010 U.S. Dist. LEXIS 129511 (S.D.

 Ohio 2010) (a pending California arbitration and Ohio federal court lawsuit were not parallel

 despite both being premised upon the parties' financial dealings, because while the arbitration

involved claims of wrongful discharge, breach of fiduciary duty, unfair business practices, and

other claims arising from the parties' employment andlor insurance broker relationship, only the

issue of whether defendant defaulted on two promissory notes is before the federal court).

             Madoffe, Heitmanis and Andraos confirm the State Court Action and this lawsuit are not

parallel. While both actions arise from the Project, this lawsuit is premised entirely upon Ohio's

fraudulent transfer statute, ORC $133 6.01 et seq. The State Court Action does not include

Titan's ORC $1336.01 claim. Indeed, the State Court refused to entertain the fraudulent transfer

claim, on the State Court's opinion that Titan's amended complaint would fundamentally change

the nature of the State Court Action.




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                Furthermore, Titan's fraudulent transfer claim includes a wholly different set of elements

  than its breach of contract, unjust enrichment and mechanic's lien foreclosure claims in State

  Court Action. The claim here includes different claims and defendants who are not parties to the

  State Court        Action. Discovery efforts will obtain information         that is different information than

 the State Court Action; indeed the State Court granted Vestige's request to not produce some                  of
 that information. The remedy here is entirely different than the remedy sought in the State Court

 Action: the         State Court Actions seeks foreclosure of a mechanic's lien against real property

 improved by Titan, whereas this action seeks monetary damages, the retum of fraudulently

 transferred proceeds, veil piercing remedies pursuant to ORC $1336.07 and supporting case law,

 punitive damages and legal fees.

                V/hile the Sixth Circuit is silent   as   to the specific issue of whether a fraudulent transfer

 claim is separate and distinct claim, at least one other circuit clearly articulates that afraudulent

 conveyance claim premised upon state statute is a separate claim which federal courts routinely

hear, and, as a result, the Colorado River analysis is not applicable. Jackson-Platts v. GE

 Capitat Corp., 727 F.3d 1127,           Il37 (11ú Cir. 2013) (motion to dismiss        denied because a

fraudulent transfer claim is an independent claim because it involves different elements, different

remedies and a different set of acts than a breach of contract claim, and "the statue imposes

liability based on factors wholly unrelated to the underlying tort action.");              see also SE prop.

Holdings, LLC v. Center,20l5 U.S. Dist. LEXIS 129053 (S.D. Alabama); Lancer Offshore Inc.

v. Citco Group Ltd., 2011 U.S. Dist. LEXIS 34255 (S.D. Florida); and C&M Inv. Group, Ltd.                      v.

Campbell,20l0 U.S. Dist. LEXIS 116638 (M.D. Florida).

                Moreover, contrary to Defendants' argument, the State Court's determination that

Vestige owes money to Titan is not necessary for Titan to proceed on its fraudulent transfer




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 claim. ORC $1336.04 provides that a transfer is fraudulent            as   to a creditor, whether the claim

 arose before, or     within a reasonable time, the transfer was made. ORC $1336.01 defines creditor

 as "a person who has a      claim." Further, under the Uniform        and Ohio Fraudulent Transfer     Act,"a

 debtor may make a fraudulent transfer in anticipation of a claim. Litigation resulting in a

 judgment and creating a debtor-creditor relationship is not res judicata as to a subsequent claim

 that the debtor fraudulently transferred property to avoid paying the judgment." Blood v.

 Nofzinger,2005-Ohio-3859, 162 Ohio App. 3d 545,834 N.E.2d 358 (Huron Cty. App. 2005)(the

 Uniform Fraudulent Transfer Act and ORC          $133    6.0I   et seq. no longer require that an allegedly

 fraudulent transfer occur subsequent to the creation of a debtor/creditor relationship; it permits

 claims for transfers made with the intent to defraud future creditors. The plain language of ORC

 $1336.04 defines the set of fraudulent transfers as inclusive of transfers occurring before or after

the transfer was made or the obligation incurred).

             By opposing Titan's effort to add the claim in the State Court Action, Vestige implicitly

conceded the actions are not parallel. Again, the State Court Magistrate confirmed the actions

are not      parallel. Thus, the mere fact that Titan could have appealed the Magistrate's Decision

(which is Titan is not obligated or required to do) does not change the fact that the Titan's

fraudulent transfer claim is not currently pending before the State Court. The State Court

proceeding consists of Titan's claims for breach of contract and unjust enrichment claims against

Vestige; Titan's mechanic's lien foreclosure of real property improved by Titan and owned by

Vestige; and Vestige's slander of title counterclaim. Titan attempted to bring its fraudulent

transfer claim in the State Court Action, but its efforts were thwarted, atDefendants' request.

Accordingly, the two cases are not parallel. Defendants' Motion should be denied.




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                   3.   The Colorqdo River Factors Are Not Satisfied Here.

             If this Court determines the State Court Action                 and this lawsuit are somehow parallel,      it
  must next analyze the Colorado River factors to determine whether abstention is appropriate.

 Madoffe v. Safelite Solutions, LLC,2007 U.S. Dist. LEXIS 9534 (S.D. Ohio 2007). In the Sixth

  Circuit, these factors include (1) whether federal or state law provides the basis for decision of

 the case; (2) whether either court has assumed jurisdiction over any res ot property; (3) whether

 the federal forum is less convenient to the parties; and (4) the order in which jurisdiction was

 obtained; (5) whether abstention avoids piecemeal litigation; (6) can the state court adequately

 protect the plaintifls rights; (7) the relative progress of the proceedings; and (8) do the state and

 federal courts have concurrent jurisdiction over Titan's claims. PaineWebber, Inc. v. Cohen,276

 F   .3d 197,206-207      16th   cir.¡, citing Romine         v. Mitelman, 160 F.3d,337 ,340-41 16th cir.¡.

             These factors "are to be carefully weighed and balanced against each other rather than

 viewed as a mechanical checklist." Colorado River,424U.5.800 at 818. Specifically, the Court

 is to consider "[n]o one factor is necessarily determinative; a carefully considered judgment

taking into account both the obligation to exercise jurisdiction and the combination of factors

counseling against that exercise is required. Only the clearest ofjustihcations will warrant

dismissal." Id., at 818-19.

             Here, an analysis of the eight factors identified by the 6th Circuit, and this District Court,

clearly demonstrate that abstention is inappropriate and unwarranted.

                    (a) Tho      Q+o+o   ñ nrtrf Tlirl'NTnf   Â   ccrrña J   crlinfinn   fìr¡or fha Res   or Þrnnprfr¡

             Contrary to Defendants' mischaracteÅzationof the res,theproperty at issue here are

certain proceeds which Vestige fraudulently transferred to its members. Conversely, the property

at issue in the State Court is the real property that is the subject of Titan's mechanic's lien.




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 Furthermore, the State Court explicitly refused to assume jurisdiction over the fraudulent transfer

 claim, and the property at issue in the claim. Thus, this factor clearly weighs against abstention.

 See Red Roof Inns,        Inc. v. A.C. Furniture Co., Inc.,2012 u.S. Dist. LEXIS 24321 (5.D.

 Ohio)(federal jurisdiction is supported because the state court did not assume jurisdiction over

 any res or property). See also Lech v. Third Federal Savings and Loan Association of Cleveland,

 2013 U.S. Dist LEXIS 180626 (S.D. Ohio) (the federal court did not assume jurisdiction over the

 property at issue in the state court (the real property subject to a mortgage lien foreclosure

 claim), but instead assumed jurisdiction over different property (money, pursuant to plaintifPs

 purely monetary damages claims), this factor weighed against abstention).

                     (b) The Federal and State Forum are Equall)' Convenient.

             This Court is neither less nor more convenient than the State Court. Both courts are

 located in Cincinnati, Ohio, and all defendants are located in Cincinnati, Ohio. Accordingly, this

factor weighs against abstention. See Red Roof, supra (convenience, which relates to

geographical considerations, favors jurisdiction; however, if this factor does not favor either

forum, the finding weighs against abstention).

                    (c)                                    Create

             Accepting jurisdiction will not create piecemeal litigation here. "Piecemeal litigation

occurs when different courts adjudicate the same issue, thereby duplicating judicial efforts and

potentially rendering conflicting results." Romine,160 F.3d         at34l. As discussed   above, and as

confirmed by the State Court Magistrate, Titan's fraudulent transfer claim is an entirely separate

and distinct claim,       with different parties, elements, discovery and damages than Titan's   State

Court Action; the mere fact both claims arise from the same construction project does not

automatically create "piecemeal litigation." See Madoffe,2007 U.S. Dist. LEXIS 9584 at *9




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  ("[a]s for the avoidance of piecemeal litigation, every situation involving parallel state and

  federal litigation is piecemeal by definition")(intemal citations omitted)); see also pritchard v.

  Dent Wizard Int'l Corp., 275 F. Srrpp. 2d903,912 (S.D. Ohio 20O3)(piecemeal litigation is not

  at issue when the state court case was dismissed on improper venue and pending on appeal

 because the state court has not decided any substantive issues).

                 Piecemeal litigation is typically found when identical claims are pending in the state

 court, or when several cases on the same issues are pending in several different courts. See

 Healthcare Capital, 213 F. S.tpp. 2d 850 (four nearly identical cases already pending in three

 state courts); Red         Roof 2012U.5. Dist. LEXIS 24321(the state court and the federal court

 lawsuits contained identical claims); and Emerald Logistics, Inc. v. Crutcher, 2008 U.S. Dist.

 LEXIS 64898 (S.D. Ohio) (the state and federal court actions were "virtually identical.). There

 is simply no risk of piecemeal litigation here. Accordingly, this factor also weighs against

 abstention.

                        (d) Whefher Thi s Court Ohtained             sdi      on the Pronertv at Issue in the State
                            Court Action.

                 The Ohio state court undisputedly obtained jurisdiction over Titan's breach of contract,

unjust enrichment and mechanic's lien foreclosure claim, and the real property subject to that

claim. However, the State Court refused to accept jurisdiction over Titan's fraudulent transfer

claim, and the property at issue in this lawsuit. This factor also weighs against abstention.

                 In this vein, Defendants' "forum shopping" accusations are untrue and disingenuous.

Vestige's own actions forced Titan's lawsuit in this Court. The State Court rendered its decision

entirely upon Ohio Civil Rule 15, and never addressed the substantive merits of Titan's claim. In

light of these facts, Defendants' accusations are troubling.               See   IBEII   v. Local (Jnion No. 2020 v.

AT&T Nen'vork            Sys. ,   879   F   .2d 864 (6th Cir. I 989) (if AT&T was genuinely concerned about



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 piecemeal litigation, it should not have acted as it did); see also PaineWebber, 276F.3d Ig7,

  203-204 (defendant's forum shopping accusations conveniently ignores its own motivations, and

 are thus not persuasive).

             Indeed, the alternative options available to Titan are highly inefficient. Titan could have

 appealed the State Court magistrate to the judge, but            it was not required to do so. Even if it did,

 and     it obtained   an unfavorable result,   it would be required to litigate the State Court Action to

 final judgment before it could appeal to the Ohio appellate court. This option requires significant

 client and judicial resources, all while Vestige's members put the proceeds further out of Titan's

 reach. This result is inequitable and prejudicial to Titan.

                       (e) While State Law is the Governins Law. Federal       Routinelv Hear
                           Fraudulent Transfer Claims Premised upon State Law.

             The source of goveming law on Titan's fraudulent transfer claim is state law at ORC

 $1336.01 et seq. However, the Sixth Circuit and this court routinely hear fraudulent transfer

cases premised upon ORC $1336.01,               just   as federal courts throughout   all districts and circuits

do. Thus, this factor is a non-issue,      and weighs against abstention. Moreover, Vestige's

objection to Titan's attempt to bring this claim in the State Court Action, and the State Court's

agreement to not hear the claim, undermines any reliance upon this factor in favor of abstention.

                    (Ð        State

             The State Court cannot adequately protect Titan's rights under ORC $1336 .01 et seq.

because the State Court refused to accept the             claim. Titan is effectively left without recourse if it

is forced to wait for the State Court Action to be tried andlor appealed. Indeed, should this Court

decline jurisdiction, Titan is robbed of its right to litigate its fraudulent transfer claim on its

substantive merits, irrespective of the fact Titan brought the claim well within four years

provided by ORC $1336.04. Accordingly, this factor weighs heavily against abstention. See



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 also Heitmanis, 899 F. 2d 521 at 528 (due to the additional issues raised in the federal complaint

 and the failure of the state court to adequately address those issues, Colorado River abstention

 was inappropriate)         .



                        (g) Progress of the Proceedings is Minimal.

                Titan filed the State Court Action in February 2014. However, no case schedule or trial

 date has yet been set. Titan and Vestige exchanged written discovery, and Titan deposed the

 corporate representative of Vestige. However, all efforts by Titan to obtain further discovery on

 Titan's fraudulent transfer claim have been blocked by Vestige, and have been pending before

 the State Court since February 2015.         ,See Jones   Dec. Ex. A, Titan's 2ll3l15 Objections to the

 Magistrate's Decision. Because nominal progress has been made in the State Court, this factor

 also weighs against abstention.

                       (h) The State and Federal Court Do Not Have Concurrent Jurisdiction over
                           Titan' s Fraudulent Transfer Claim.

                As discussed above, the State Court does not have jurisdiction over the property at issue

in this lawsuit. Accordingly, it cannot be argued that the State Court has concurrent jurisdiction

over the claim. This factor, as all other seven factors, weighs against abstention.

                B.

                Even if the Court concludes that abstention is warranted, despite the overwhelming

evidence above, this suit may not be dismissed. Federal courts have the power to dismiss or

remand cases based on abstention principles only where the relief being sought is equitable or

otherwise discretionary. Quackenbush v. Allstate Ins. Co.,517 U.S. 706,731,116 S. Ct.               l7l2
(1996). In contrast, where the plaintiff seeks monetary damages, at most, the case should be

stayed rather than dismissed without prejudic e. Gray v. Bush, 628          F   .3d 779, 785 (6th Cir. 2010)

("[i]n the context of a complaint seeking 'both equitable [relief]        and money damages,' as in this



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             ra
  case,           federal court's discretion to abstain from exercisingjurisdiction does not extend so far as

 to permit a court to dismiss or remand, as opposed to stay, an action at law."'). See also

  woody's Rest., LLC v. Trqvelers cas. Ins. co.,980 F. supp. 2d785,786 (E.D. Ky. 2013)

 (holding where plaintifß request monetary damages, a court may not dismiss or remand
                                                                                                     - it is
 only permitted to stay the action under the Colorado River abstention doctrine).Titan's

 Complaint in this case includes relief for monetary damages. Thus, a dismissal is prohibited.

              Additionally, the overwhelming majority of Sixth Circuit opinions resoundingly state that

 a stay, rather than a dismissal, is the appropriate remedy. See Emerald Logistics, hnc.,2008 U.S.

 Dist. 64989 at*1616th Cir. 2004)("having found that abstention is appropriate, the Court will

 stay rather than dismiss the case"); Bates v. Van Buren           Trp.,   122 Fed. Appx. 803, 808 q6ft Cir.

 2004) ("abstention under Colorado River would generally require a stay of proceedings rather

than dismissal."); Holmes Fin. Assoc, Inc. v. Resolution Trust Corp., 33 F.3d 56I,56216th Cir.

 1994)(*la] stay lessens concerns over the statute of limitations . . .and generally protects all the

rights of the parties without imposing any additional burden on the district court; Btake v. Wells

Fargo Bank, NA,9l7 F. Supp. 2d732 (S.D. Ohio 2013) ("[u]nder Sixth Circuit precedent,

Colorado River abstention requires a district court to stay, not dismiss, an action pending the

outcome of the parallel state case.").

              However, because Defendants have (1) failed to prove the existence of parallel actions,

and (2) failed         to satisfy the seven Colorado River factors, abstention is not appropriate here.

Accordingly, the Court should retain jurisdiction over this matter.

              C.    The Landis A             Doctrine is Inannlicable and Irrelevant.

             Despite not satisfuing one single element to warrant abstention under Colorado River,

Defendants request this Court to simply dismiss the case, pursuant to its authority under Landis




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  v. North American Co.,299 U.S. 248 (1936). However, the Landis holding, which pre-dates

  Colorado River by 40 years, discussed dismissal of a case when two pending federal court cases

 contained identical claims. Furthermore, even Landis provides a threshold for dismissal, which

 should only be effected upon "carefully considered judgment." Ohio Midtand, Inc. v. Proctor,

 2007 U.S. Dist. LEXIS 25306 (S.D. Ohio 2007) at*24 (granting a motion to dismiss where,

 unlike here, the plaintiff included identical claims in a state court proceeding).

             The 6th Circuit determined that under Landis, the "most important consideration is the

 balance of hardship; the movingpafty has the burden of proving that it     will suffer irreparable
 injury if the case moves forward, and that the non-moving party will not be injured by a stay."

 IBEW, Local Union No. 2020, 879 F.2d 864. However, when an alleged hardship is created by

 the moving party's own actions, dismissal is not wananted. Id.

             Like AT&T in the Local Union No. 2020 case, if Defendants complain of hardship and

 inconsistent opinions, they should not have opposed Titan's effort to include its fraudulent

transfer claim in the State Court Action. Thus, their own actions, the State Court's admission that

Titan's fraudulent transfer claim is fundamentally different than the State Court Action, and the

complete lack of any reasons supporting a dismissal or stay of this case defeats Defendants'

Motion.




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  ilI.       CONCLUSION

             For the foregoing reasons, Titan respectfully requests that this Court deny Defendants'

 Motion and retain jurisdiction over this case.

                                                  Respectfully submitted,


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                                     CERTIFICATE OF SERVICE

             A true and accurate copy of the foregoing Brief in Opposition to Motion to Dismiss was

 served via electronic mail upon the following      this 13û day of November, 2015:

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